                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
v.                                     ) Civil Action No. 2:11-00002-20
                                       ) Magistrate Judge Knowles
JAMES RUSSELL NORRIS                   )

                                O R D E R


     The Parties have filed an Agreed Motion for Pre-Trial

Release of Defendant James Russell Norris.            Docket No. 450.      The

Pretrial Services Officer has no objection to the agreement of

the parties.    This Motion is granted and the modifications to his

pretrial release are adopted.

     The Order entered October 31, 2011 (Docket No. 446),

allowing Defendant to surrender to the United States Marshal and

be detained in federal custody is hereby VACATED.

     IT IS SO ORDERED.




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                                         E. CLIFTON KNOWLES
                                         United States Magistrate Judge




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